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   8                         UNITED STATES DISTRICT COURT
   9                       CENTRAL DISTRICT OF CALIFORNIA
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 11    PETER GARCIA,                             Case No. 5:20-cv-02564-FLA (MAAx)
 12                        Plaintiff,
 13                                              ORDER ACCEPTING FINDINGS
              v.
                                                 AND RECOMMENDATIONS OF
 14
       RALPH DIAZ, et al.,                       UNITED STATES MAGISTRATE
 15                                              JUDGE
                           Defendants.
 16
 17          Pursuant to 28 U.S.C. § 636, the court has reviewed the Second Amended
 18    Complaint, the other records on file herein, and the Report and Recommendation of
 19    the United States Magistrate Judge. The time for filing objections has expired and
 20    no objections have been made. The court accepts the findings and
 21    recommendations of the Magistrate Judge.
 22          IT THEREFORE IS ORDERED that:
 23          1.    The Report and Recommendation of the Magistrate Judge is
 24                ACCEPTED;
 25          2.    Plaintiff’s Second Amended Complaint is DISMISSED WITH
 26                PREJUDICE and WITHOUT LEAVE TO AMEND with respect to:
 27                a.     Defendants Jeffrey Macomber, Kenneth J. Pogue, Anthony
 28                       Carter, Steven Escobar, P. Birdsong, and Chelsea Armenta;
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   1              b.    Fourteenth Amendment equal protection claim against
   2                    Defendants Macomber, Pogue, Carter, Escobar, Birdsong, and
   3                    Armenta;
   4              c.    First Amendment right to petition claim; and
   5              d.    First Amendment retaliation claim.
   6        3.    Plaintiff’s Second Amended Complaint will PROCEED solely with
   7              respect to the following claims against Defendants Bonadle, Nuñez,
   8              Frias, Vance, Montgomery, Strippling, Messerli, Wilson, Rossolio,
   9              Sanders, Wright, Landry, Allen, Kuntz, and Doe Defendants 1–9:
 10               a.    Fourth Amendment search and seizure claim;
 11               b.    Fourteenth Amendment equal protection claim;
 12               c.    California Civil Code § 52.1, Tom Bane Civil Rights Act; and
 13               d.    California Civil Code § 51.7, Ralph Civil Rights Act.
 14
 15    DATED: October 19, 2021
                                           FERNANDO L. AENLLE-ROCHA
 16                                        United States District Judge
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